      Case 2:21-cv-01405-WBS-JDP Document 51 Filed 06/07/24 Page 1 of 2

                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF CALIFORNIA



JUAN AUTILANO MERCED, Jr.,                           Case No. 2:21-cv-01405-WBS-JDP (PC)

               Plaintiff,

       v.

PATRICK COVELLO, et al.,
                                                     ORDER & WRIT OF HABEAS CORPUS
               Defendants.                           AD TESTIFICANDUM
                                             /

Juan Autilano Merced, Jr., CDCR # D-48678, a necessary and material witness in a settlement
conference in this case on July 11, 2024, is confined in Mule Creek State Prison (MCSP), in the
custody of the Warden. In order to secure this inmate’s attendance, it is necessary that a Writ of
Habeas Corpus ad Testificandum issue commanding the custodian to produce the inmate before
Magistrate Judge Dennis M. Cota, by Zoom video conference from his place of confinement, on
Thursday, July 11, 2024 at 9:30 a.m.

                              ACCORDINGLY, IT IS ORDERED that:

   1. A Writ of Habeas Corpus ad Testificandum issue, under the seal of this court,
      commanding the Warden to produce the inmate named above, by Zoom video conference,
      to participate in a settlement conference at the time and place above, until completion of
      the settlement conference or as ordered by the court. Zoom video conference connection
      information will be supplied via separate email.

   2. The custodian is ordered to notify the court of any change in custody of this inmate and is
      ordered to provide the new custodian with a copy of this writ.

   3. The Clerk of the Court is directed to serve a copy of this order via fax on the Litigation
      Office at Mule Creek State Prison at (209) 274-5018 or via email.

   4. Any difficulties connecting to the Zoom video conference shall immediately be reported
      to Jodi Palmer, Courtroom Deputy, at jpalmer@caed.uscourts.gov.

                    WRIT OF HABEAS CORPUS AD TESTIFICANDUM

To: Warden, MCSP, P. O. Box 409099, Ione, California 95640:

WE COMMAND you to produce the inmate named above to testify before Judge Cota at the
time and place above, by Zoom video conference, until completion of the settlement conference
or as ordered by the court.
      Case 2:21-cv-01405-WBS-JDP Document 51 Filed 06/07/24 Page 2 of 2
FURTHER, you have been ordered to notify the court of any change in custody of the inmate
and have been ordered to provide the new custodian with a copy of this writ.


IT IS SO ORDERED.


Dated:    June 6, 2024
                                              JEREMY D. PETERSON
                                              UNITED STATES MAGISTRATE JUDGE
